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 8                                     UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11     RALPH COLEMAN, et al.,                            No. 2:90-cv-0520 KJM SCR P
12                        Plaintiff,
13            v.                                         ORDER
14     GAVIN NEWSOM, et al.,
15                        Defendants.
16

17

18           The matter of payment of the Special Master has been referred to the magistrate judge by
19    the district court judge. The court has reviewed the bill for services provided by the Special Master
20    in the above-captioned case through the month of September 2024.
21           Good cause appearing, IT IS HEREBY ORDERED that:
22                   1. The Clerk of the Court is directed to pay to
23                           Pannone Lopes Devereaux & O’Gara LLC
                             Attn: Matthew A. Lopes, Jr., Esq., Special Master
24                           Northwoods Office Park, Suite 215N
                             1301 Atwood Avenue
25                           Johnston, RI 02919
26
       the amount of $1,123,460.28 as payment of the statement attached to this order; and
27                   2. A copy of this order shall be served on the financial department of this court.
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                                                        1
     Case 2:90-cv-00520-KJM-SCR Document 8458 Filed 11/06/24 Page 2 of 7


 1    Dated: November 5, 2024
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     Case 2:90-cv-00520-KJM-SCR Document 8458 Filed 11/06/24 Page 3 of 7


 1    RALPH COLEMAN, et al.,                     :
          Plaintiffs,                            :
 2                                               :       No. Civ. S-90-0520 KJM SCR P
            v.                                   :
 3                                               :
      EDMUND G. BROWN, JR., et al.               :
 4        Defendants.
 5    The Special Master hereby submits his latest statement for fees and disbursements, including
      those accrued through September 30, 2024.
 6

 7    Matthew A. Lopes, Jr., Special Master
 8             Services                                      $37,855.00
               Disbursements                                 $29,099.63
 9
                                          Total amount due                  $66,954.63
10
      Kerry F. Walsh, J.D., Deputy Special Master
11              Services                                     $55,594.00
                Disbursements                                $     0.00
12
                                          Total amount due                  $55,594.00
13
      Kristina M. Hector, J.D.
14
                Services                                     $51,603.00
15              Disbursements                                $     0.00

16                                        Total amount due                  $51,603.00

17    Regina M. Costa, MSW., J.D.
                Services                                     $51,313.00
18              Disbursements                                $     0.00
19                                        Total amount due                  $51,313.00
20    LaTri-c-ea McClendon-Hunt, J.D.
21               Services                                    $15,081.00
                 Disbursements                               $     0.00
22
                                          Total amount due                  $15,081.00
23
      Michael F. Ryan, Jr.
24              Services                                     $49,764.00
                Disbursements                                $     0.00
25
                                          Total amount due                  $49,764.00
26

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     Case 2:90-cv-00520-KJM-SCR Document 8458 Filed 11/06/24 Page 4 of 7


 1    Michael A. Milas
                Services                              $50,930.00
 2              Disbursements                         $     0.00
 3
                                   Total amount due                $50,930.00
 4    Mario R. McClain, Jr.
                Services                              $47,957.00
 5              Disbursements                         $     0.00

 6                                 Total amount due                $47,957.00
 7    Alison A. Tate
 8              Services                              $54,655.00
                Disbursements                         $     0.00
 9
                                   Total amount due                $54,655.00
10
      Mitchell J. Young
11                Services                            $50,400.00
                  Disbursements                       $     0.00
12
                                   Total amount due                $50,400.00
13
      Rachel Gribbin
14
                Services                              $27,112.50
15              Disbursements                         $     0.00

16                                 Total amount due                $27,112.50

17    Lana L. Lopez
                Services                              $34,447.50
18              Disbursements                         $     0.00
19                                 Total amount due                $34,447.50
20

21    Kerry C. Hughes, M.D.
22              Services                              $38,456.00
                Disbursements                         $ 1,106.95
23
                                   Total amount due                $39,562.95
24
      Jeffrey L. Metzner, M.D.
25               Services                             $29,000.00
                 Disbursements                        $ 1,559.12
26
                                   Total amount due                $30,559.12
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     Case 2:90-cv-00520-KJM-SCR Document 8458 Filed 11/06/24 Page 5 of 7


 1    Mary Perrien, Ph.D.
                Services                               $21,770.00
 2              Disbursements                          $ 2,485.32
 3
                                    Total amount due                $24,255.32
 4
      Patricia M. Williams, J.D.
 5               Services                              $55,900.00
                 Disbursements                         $ 3,177.60
 6
                                    Total amount due                $59,077.60
 7
      Henry A. Dlugacz, MSW, J.D.
 8
                Services                               $24,776.00
 9              Disbursements                          $     0.00

10                                  Total amount due                $24,776.00

11    Lindsay M. Hayes
               Services                                $24,536.00
12             Disbursements                           $ 1,070.13
13                                  Total amount due                $25,606.13
14    Timothy A. Rougeux
15             Services                                $21,483.00
               Disbursements                           $     0.00
16
                                    Total amount due                $21,483.00
17
      Maria Masotta, Psy.D.
18             Services                                $28,890.00
               Disbursements                           $ 2,305.41
19
                                    Total amount due                $31,195.41
20

21    Karen Rea PHN, MSN, FNP
                Services                               $27,234.60
22              Disbursements                          $ 488.77

23                                  Total amount due                $27,723.37
24    Brian J. Main, Psy.D.
                Services                               $10,032.00
25              Disbursements                          $     0.00
26
                                    Total amount due                $10,032.00
27

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     Case 2:90-cv-00520-KJM-SCR Document 8458 Filed 11/06/24 Page 6 of 7


 1    Sharen Barboza, PhD.
                Services                               $17,226.00
 2              Disbursements                          $ 3,386.15
 3
                                    Total amount due                $20,612.15
 4
      Daniel F. Potter, PhD.
 5               Services                              $63,726.00
                 Disbursements                         $     0.00
 6
                                    Total amount due                $63,726.00
 7
      Brett L. Johnson, M.D.
 8               Services                              $41,928.00
                 Disbursements                         $ 1,750.07
 9

10                                  Total amount due                $43,678.07

11    Marcus R. Patterson, PsyD.
                Services                               $30,524.00
12              Disbursements                          $ 2,059.15

13                                  Total amount due                $32,583.15
14    J. David Dawdy, M.A.
                Services                               $23,016.00
15
                Disbursements                          $ 2,688.32
16
                                    Total amount due                $25,704.32
17
      Kerry Eudy, J.D., Ph.D.
18             Services                                $30,552.00
               Disbursements                           $0.00
19
                                    Total amount due                $30,552.00
20
      John S. Wilson, Ph.D., CCHP-MH, CPHQ
21              Services                               $51,592.00
22              Disbursements                          $ 1,168.06

23                                  Total amount due                $52,760.06

24    Darrin A. Bell
                Services                               $   462.00
25              Disbursements                          $     0.00
26                                  Total amount due                $   462.00
27

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     Case 2:90-cv-00520-KJM-SCR Document 8458 Filed 11/06/24 Page 7 of 7


 1    Lynn Bissonnette
                Services                                      $ 3,300.00
 2              Disbursements                                 $     0.00
 3
                                           Total amount due                    $ 3,300.00
 4

 5
      TOTAL AMOUNT TO BE REIMBURSED                                            $1,123,460.28
 6

 7    Receipts for justification of reported expenditures are available upon request.

 8    Respectfully submitted,

 9    /s/ Matthew A. Lopes, Jr.

10    Matthew A. Lopes, Jr.
      Special Master
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